     2:18-mn-02873-RMG            Date Filed 06/04/25         Entry Number 7248          Page 1 of 5



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   CHARLESTON DIVISION

                                                  )
    IN RE: AQUEOUS FILM-FORMING                   )   MDL No. 2:18-mn-2873-RMG
    FOAMS PRODUCTS LIABILITY                      )
    LITIGATION                                    )   CASE MANAGEMENT ORDER NO. 26I
                                                  )
                                                  )   This Order Relates to All Actions
                                                  )

             SCHEDULING ORDER GOVERNING INITIAL PERSONAL INJURY
                 BELLWETHER TRIAL POOL CASES (GROUP A CASES)

       Pursuant to paragraph 6 of CMO 26G, this CMO 26I sets forth the pre-trial schedules and

deadlines for the Group A trial case(s). Pursuant to this Court’s Order dated May 9, 2025 (Dkt. No.

7109), the Court has reserved judgment on which of the three kidney cancer cases—Donnelly v. 3M

Co., et al., No. 2:20-cv-00209-RMG; Speers, et al. v. 3M Co., et al., No. 2:21-cv-03181-RMG; and

Voelker v. 3M Co., et al., No. 2:18-cv-03438-RMG—will be the first trial case(s). The Parties shall

meet and confer in good faith to recommend any adjustments needed to the following schedule based

upon when and how the Court makes its selection of the first trial case(s).

       The schedule is as follows:

       I.      PRETRIAL MOTIONS: The Parties shall file motions in limine by September 5,
               2025. Response in opposition briefs shall be filed by September 19, 2025.

       II.     JURY QUESTIONNAIRE AND VOIR DIRE:

               A. Defendants shall serve a proposed jury questionnaire 1 by August 15, 2025, and
                  Plaintiff shall send proposed edits by August 22, 2025.

               B. The Parties shall endeavor to meet and confer with respect to the jury questionnaire
                  and/or objections thereto by August 27, 2025.


1
  For purposes of this order, the Parties propose use of a juror questionnaire only for use with the venire
reporting for jury duty for this case, not for use in any advance communication with the venire prior
to October 20, 2025.

                                                      1
       2:18-mn-02873-RMG             Date Filed 06/04/25         Entry Number 7248               Page 2 of 5



                  C. The Parties shall submit proposed jury questionnaire (or competing proposals) by
                     August 29, 2025. The Parties are directed to the undersigned’s Special Instructions
                     for more detailed information on submitting a proposed jury questionnaire.

                  D. The Parties shall file requests for voir dire questions by October 3, 2025.

          III.    DEPOSITION DESIGNATIONS:

                  A. Plaintiff shall serve in the form of an Excel spreadsheet page/line designations of
                     deposition testimony to Defendants by August 18, 2025.

                  B. Defendants shall serve: (1) page/line counter-designations of deposition testimony;
                     (2) objections to Plaintiff’s page/line deposition designations; and affirmative
                     page/line designations of deposition testimony by September 8, 2025.

                  C. Plaintiff shall serve: (1) page/line counter-designations of deposition testimony; (2)
                     objections to Defendants’ page/line deposition counter-designations; and (3)
                     objections to Defendants’ affirmative page/line designations by September 22,
                     2025.

                  D. Defendants shall serve objections to Plaintiff’s page/line counter designations by
                     October 3, 2025.

                  E. All page/line designations, counter-designations, and objections shall be exchanged
                     by the Parties in Excel.

                  F. The Parties shall endeavor to meet and confer with respect to disputes regarding
                     objections to designated testimony and/or designations (including counter-
                     designations) by October 5, 2025.

                  G. The Parties shall submit deposition designations, including any objections and
                     counter-designations, to the Court no later than October 6, 2025.

                  H. The Parties shall consider the Court’s prior rulings and guidance generally from
                     Stuart regarding evidence, including when making, asserting, maintaining
                     objections, and submitting any issues for the Court’s rulings. 2

          IV.     EXHIBIT LISTS:

                  A. Plaintiff shall serve an exhibit list in the form of an Excel spreadsheet, which shall
                     include the document production number (i.e., bates number range, if applicable),
                     or, if there is no bates numbers, a brief description of the document by August 29,
                     2025. To ease the burden on the Parties and the Court, the Parties have agreed that
                     this exhibit list shall contain two parts – (i) a listing of core exhibits to be offered
                     in evidence (“Plaintiff’s Core Exhibit List”) limited to a presumptive maximum of
                     500 that represent those exhibits more likely to be offered in evidence at trial

2
    All parties reserve their rights on those prior rulings and their precedent in this trial.

                                                        2
2:18-mn-02873-RMG        Date Filed 06/04/25         Entry Number 7248           Page 3 of 5



          (including Expert reliance materials that are in the public domain, including but not
          limited to medical/scientific literature and learned treaties that are on the Plaintiff’s
          Core Exhibit List) and (ii) any remaining exhibits that may be offered but Plaintiff
          does not presently view as likely or necessary to offer at trial. An electronic copy
          of the Core Exhibits (excluding Expert reliance materials that are in the public
          domain, including but not limited to medical/scientific literature and learned
          treaties) shall also be provided on or before September 2, 2025.

       B. Defendants shall serve one master defense exhibit list in the form of an Excel
          spreadsheet, which shall include the document production number (i.e., bates
          number range, if applicable), or, if there is no bates number, a brief description of
          the document by September 12, 2025. To ease the burden on the Parties and the
          Court, the Parties have agreed that this exhibit list shall contain two parts – (i) a
          listing of core exhibits to be offered in evidence (“Defendants’ Core Exhibit List”)
          limited to a presumptive maximum of 500 that represent those exhibits more likely
          to be offered in evidence at trial (including Expert reliance materials that are in the
          public domain, including but not limited to medical/scientific literature and learned
          treaties that are on the Defendants’ Core Exhibit List) and (ii) any remaining
          exhibits that may be offered but Defendants do not presently view as likely or
          necessary to offer at trial. An electronic copy of the Core Exhibits (excluding Expert
          reliance materials that are in the public domain, including but not limited to
          medical/scientific literature and learned treaties) shall also be provided by
          September 16, 2025.

       C. The Parties shall serve any objections to the Parties’ respective Core Exhibit Lists
          by September 30, 2025. For the avoidance of doubt, failure to object to an exhibit
          on Defendants’ or Plaintiffs’ Core Exhibit List does not waive any objection that
          may be raised at trial. Given the sheer size and scope of the evidence being
          marshalled for this trial, neither Defendants nor Plaintiff shall not be required to
          tender objections to exhibits not on the Defendants’ or Plaintiffs’ Core Exhibit List
          and are not waiving any such objections.

       D. In addition to serving their exhibit lists on each other, the Parties will likewise serve
          their exhibit lists on counsel for the United States. Within 21 days of receiving each
          respective Parties’ exhibit lists, counsel for the United States will identify for the
          Parties in writing which listed exhibit(s) designated under the Protective Order, if
          any, the United States will object to be shown in open Court and the basis for such
          objection(s). Within fourteen days thereafter, the Parties will meet and confer and
          to the extent no agreement is reached with respect to a particular exhibit(s), the
          Parties will bring such exhibit(s) to the Court for a ruling on whether the exhibit(s)
          requires sealing of the Courtroom when introduced at trial. The Parties will bring
          such exhibit(s) to the Court for a ruling within seven days following the Parties
          meet and confer.

       E. The Parties shall endeavor to meet and confer with respect to disputes regarding
          exhibits and/or objections thereto by October 3, 2025.



                                            3
      2:18-mn-02873-RMG            Date Filed 06/04/25        Entry Number 7248           Page 4 of 5



                 F. The Parties shall submit an exhibit list, including any objections and responses to
                    any objections, to the Court no later than October 6, 2025.

                 G. Given the sheer size and scope of the evidence being marshalled for this trial, the
                    Parties recognize and acknowledge that nothing herein shall preclude the use of any
                    an exhibit or exhibit(s) at trial (subject to any evidentiary objections that might
                    apply) that was inadvertently not disclosed on a party’s Exhibit List in accordance
                    with the schedule above, subject to a showing of good cause for the failure to
                    disclose the exhibit. Consistent with the use of Core Exhibit Lists as set forth above,
                    the Parties shall endeavor address objections as to documents not appearing on Core
                    Exhibit Lists prior to introduction or use at trial through a process to be agreed by
                    trial counsel and tendered to the Court as part of the pretrial brief together with
                    other trial procedures.

                 H. The Parties will exchange any summary exhibits under FRE Rule 1006, by
                    September 26, 2025. Such summary exhibits can only summarize what is already
                    included on the exhibit list.

                 I. The Parties shall consider the Court’s prior rulings and guidance generally from
                    Stuart regarding evidence, 3 including when making, asserting, maintaining
                    objections, and submitting any issues for the Court’s rulings. In keeping with the
                    Court’s prior order in Stuart [ECF No. 3086], for each Party asserting objections,
                    the Parties shall identify lead trial counsel by August 15, 2025 who will be required
                    to approve such objections and argue same at any evidentiary hearings set by the
                    Court.

         V.      WITNESS LISTS:

                 A. The parties shall file and exchange witness lists, identifying witnesses as “Will
                    Call” and “May Call” and “Live” or “By Deposition” by August 15, 2025.

                 B. The parties shall file and exchange supplemental witness lists, which shall include
                    the experts they intend to call at trial, no later than August 29, 2025.

         VI.     JURY INSTRUCTIONS:

                 A. The parties shall exchange proposed jury instructions by August 8, 2025 and shall
                    exchange proposed edits to those instructions by September 5, 2025.

                 B. The Parties shall endeavor to meet and confer with respect to disputes regarding
                    jury instructions and/or objections thereto by September 15, 2025.

                 C. The Parties shall submit proposed jury instructions (or competing proposals with
                    supporting authorities) by September 18, 2025. The Parties are directed to the



3
    This intended to expressly include the Court’s Order, dated May 4, 2023 [Stuart ECF No. 285].

                                                     4
 2:18-mn-02873-RMG           Date Filed 06/04/25         Entry Number 7248          Page 5 of 5



               undersigned’s Special Instructions for more detailed information on submitting
               proposed jury instructions.

    VII.   PRETRIAL BRIEFS: The Parties shall furnish the Court with and serve their pretrial
           briefs by October 3, 2025. At least five (5) business days prior to this deadline to submit
           pretrial briefs, counsel shall meet to exchange and mark all exhibits (Local Civil Rule
           26.07).

    VIII. PRETRIAL CONFERENCE: The Parties will be prepared for a pretrial conference
          as may be scheduled by the Court on October 16, 2025. At the date scheduled for the
          pretrial conference, the Parties will be prepared to discuss other evidentiary and trial
          management matters.

    IX.    WITNESS DISCLOSURES: The Parties agree to provide 36-hour advance disclosure
           of witnesses they intend to call at trial and the order they intend to call the witnesses
           (e.g., disclosing at 6:30 p.m. Monday those witnesses the party intends to call on
           Wednesday). This stipulation will not preclude either party from calling a witness on
           shorter notice to accommodate a good faith scheduling issue.

    X.     DEMONSTRATIVE DISCLOSURES: All demonstratives to be used in direct
           examination will be disclosed the night before they are to be used at trial.

           A. The disclosing party will use best efforts to disclose every demonstrative that will
              be used by 7:00 p.m. the night before.

           B. Any demonstrative altered after disclosure must be re-disclosed prior to its use
              before the jury.

    XI.    TRIAL: Pursuant to CMO 26, the initial Tier 2 Group A trial case(s) is subject to being
           called for jury selection and/or trial on October 20, 2025.

IT IS SO ORDERED.

Dated: June 4 , 2025                                        s/Richard M. Gergel
Charleston, South Carolina                                  Hon. Richard M. Gergel
                                                            United States District Judge




                                               5
